Case 2:O4-cr-20399-.]PI\/| Document 26 Filed 05/19/05 Page 1 of 5 Page|D 24

uNlTED sTATEs DisTRlcT couRT sits t
wEsTERN DisTRlcT oF TENNEssEE ‘ o ~- D-@-
MEMPHls DivlsioN 1

UNITED STATES OF AMERICA

 

"V' 2 :04CR20399 -01 -D

MARTY MARMON
Needum Louis Germanv, lll. FPD
Defense Attorney
200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count ‘| of the indictment on January 31, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Cou nt
Title & section Mreofo_@§ Offense wait
Concluded
18 U.S.C. § 922(9) Feion in Possession of Firearm 07/22/2004 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant's Date of Birth: 10/25/1976 lVlay 03, 2005
Deft’s U.S. l\/|arsha| No.: 19973-076

Defendant's |Vlai|ing Address:
622 Leacrest
Memphis, TN 38109

  

W/z/@

ERN|CE B. DONALD
UN|TED STATES D|STR|CT JUDGE

May /f , 2005

`fi'iis document entered ora the docket sheet in compliance
with Hule 55 and/or 32(b) FHCrP on 6 'QQQ ’¢ §§ Q#

Case 2:O4-cr-20399-.]PI\/| Document 26 Filed 05/19/05 Page 2 of 5 Page|D 25

Case No: 2:04CR20399~01 Defendant Name: |V|arty MARl\/|ON Page 2 of4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 12 Months and 1 day.

The Court advises the Bureau of Prisons:
That the defendants sentence is deferred until February 2006.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notiHed by the United States Marshal.

RETU RN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy LJ.S. l\/larsha|

Case 2:O4-cr-20399-.]Pl\/l Document 26 Filed 05/19/05 Page 3 of 5 PagelD 26

Case No: 2:O4CR20399-01 Defendant Name: lVlarty MAR|V|ON Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shait
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer; _

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:O4-cr-20399-.]Pl\/l Document 26 Filed 05/19/05 Page 4 of 5 PagelD 27

Case No: 2:04CR20399-01 Defendant Name: Marty MARN|ON Page 4 of4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lvlonetary Penalties sheet of this judgment

ADDITIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall seek and maintain full-time employment;

The defendant shall cooperate with DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALTIES

The defendant shall paythefollowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Tota| Fine Tota| Restitution
$100.00

The Speciai Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was orderedl

   

UNITED sTATE DISTRIC COUR - WTERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CR-20399 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

David Pritehard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

